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In The Anited States Court of Federal Claims

No, 13-138C

This Opinion Will Not Be Published in the U.S. Court of Federal Claims Reporter Because It
Does Not Add Significantly to the Body of Law.

(Filed: March 8, 2013) FILED
MAR 8 2013
SIS FOUNDATION, 3. COURT OF
[Corporate Sole] FEDERAL CLAIMS
Plaintiff,
Vv.

SENIOR JUDGE SOUTH CAROLINA
DISTRICT COURT MARGARET
SEYMOUR; BEATTIE ASHMORE;
L. WALTER TOLLISON, II,

Defendants.

ORDER

On February 22, 2013, plaintiff, SIS Foundation, filed a complaint, under cover of an
application to proceed in forma pauperis. The complaint seeks various injunctive and
declaratory relief, including orders quieting title in plaintiff to certain property, and invalidating
orders rendered by Magistrate Judge Margaret Seymour of the U.S. District Court for the District
of South Carolina.

This court is solemnly obliged, on its own accord, to address obvious questions
concerning its subject matter jurisdiction. See Mitchell v. Maurer, 293 U.S. 237, 244 (1934).
This court recognizes that plaintiff is acting pro se before this court, and thus the court will hold
the form of plaintiff's submissions to a less stringent standard than those drafted by an attorney.
See Reed v. United States, 23 Cl. Ct. $17, 521 (1991) (citing Estelle v. Gamble, 429 U.S. 97
 

 

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(1976)). Having reviewed plaintiff's complaint, this court is certain that it lacks jurisdiction to
consider the claims that plaintiff raises.

With very limited exceptions, the jurisdictional statutes governing the United States
Court of Federal Claims grant authority to the court only to issue judgments for money against
the United States and then, only when they are grounded in a contract, a money-mandating
statute, or the “takings clause” of the Fifth Amendment. See United States v. Testan, 424 U.S.
392 (1976); 28 U.S.C, §1491. This court lacks jurisdiction to entertain claims that are not based
upon an appropriate money-mandating provision. See, e.g., Sanders v. United States, 34 Fed. Cl.
75, 80 (1995), aff'd, 104 F.3d 376 (Fed. Cir. 1996), cert, denied, 522 U.S, 831 (1997), Martinez
v, United States, 26 Cl. Ct. 1471, 1476 (1992), aff'd, 11 F.3d 1069 (Fed, Cir. 1993), The Quiet
Title Act, 28 U.S.C. § 2409a, is not such a provision, See Dwen v. United States, 62 Fed, Cl. 76,
81 (2004). Absent a specific authorizing statute, this court also lacks the authority to grant
declaratory and injunctive relief of the sort plaintiff requests. See United States v. King, 395 US
1, 4-5 (1969); Anderson v, United States, 21 Cl. Ct. 143, 144 (1990), Nor does this court hear
claims sounding in tort, including so-called constitutional torts, or claims against government
employees, including Federal judicial officers, see 28 U.S.C. §1491; Buck v. United States, 2011
WL 2633624, at *2 (Fed. Cl. July 6, 2011), or private individuals, see Berdick v. United States,
612 F.2d 533, 536 (Ct. Cl. 1979). Finally, the court entirely lacks jurisdiction to review the
decisions of district courts relating to proceedings before those courts. See Joshua v. United
States, 17 F.3d 378, 380 (Fed. Cir. 1994); Cooper v. United States, 104 Fed, Cl. 306, 311-12
(2012). This court, therefore, lacks jurisdiction over all claims made by the plaintiff.

It follows that the complaint must be dismissed for lack of jurisdiction.

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IT IS SO ORDERED.
